        Case 6:18-mj-00006-MJS Document 23 Filed 01/04/19 Page 1 of 3


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 5   Attorney for Defendant,
     Alexander Paul Schaibly
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 8
                                        UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11
      UNITED STATES OF AMERICA,                        6:18-mj-00006-MJS
12
                           Plaintiff,
13                                                     REQUEST TO FOR PROBATION
              v.                                       MODIFICATION; ORDER THEREON
14
      ALEXANDER PAUL SCHAIBLY,
15
                           Defendant.
16

17

18           The Defendant, ALEXANDER PAUL SCHAIBLY, by and through his attorney of
19
     record, CAROL ANN MOSES, requests that he be allowed to modify the terms and conditions of
20
     his probation imposed on July 10, 2018 in case No. 6:18-mj-0006-MJS.
21
             On the date probation was imposed, Mr. Schaibly was ordered to pay $490.00 plus a
22

23   special assessment of $10.00. Additionally, Mr. Schaibly was ordered to complete 150 hours of

24   community service. He was sentenced to a term of 24 months of non-reporting probation.

25           Mr. Schaibly understands that the community service hours are worked at the rate of
26   $10.00 per hour. Mr. Schaibly has moved to Hawaii to live with his sister, where he has obtained
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     employment as a waiter at a restaurant; he is now able to pay the fine in full. Mr. Schaibly wishes
28
     REQUEST FOR PROBATION MODIFICATION ;
     [PROPOSED] ORDER THEREON
                                                                                                       1
        Case 6:18-mj-00006-MJS Document 23 Filed 01/04/19 Page 2 of 3


 1   to convert the 150 hours of community service to a fine payment of $1500.00. Mr. Shaibly has
 2   paid approximately $450.00 of the fine ordered by the Court. Mr. Shaibly is not seeking to
 3
     modify the length of the probationary period.
 4
             The Legal Officer for the National Park Service has no objection to Mr. Shaibly’s request
 5
     for a modification of his probation.
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 7   Dated: December 31, 2018                              /s/ Carol Ann Moses
                                                           CAROL ANN MOSES
 8                                                         Attorney for Defendant,
                                                           ALEXANDER PAUL SCHAIBLY
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12
                                             [PROPOSED] ORDER
13

14           The court, having reviewed the above request HEREBY ORDERS AS FOLLOWS:

15                        1.   The court grants the above Request and orders the Defendant Alexander

16                             Paul Schaibly to pay $1500.00 in lieu of community service, and removes
17                             the probationary term for community service from the Judgment imposed
18
                               on July 10, 2018; the court adopts the above request as its terms for the
19
                               order of this court.
20
                          2.   Accordingly, Defendant Alexander Paul Schaibly will pay the remaining
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22                             fine of $1500.00 in lieu of completing community service hours, for Case

23                             No. 6:18-mj-00006-MJS; the length of the imposed probationary period

24                             will remain 24 months as ordered on July 10, 2018.
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28
     REQUEST FOR PROBATION MODIFICATION ;
     [PROPOSED] ORDER THEREON
                                                                                                      2
        Case 6:18-mj-00006-MJS Document 23 Filed 01/04/19 Page 3 of 3


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 2   IT IS SO ORDERED.
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 4   Dated:      January 3, 2019
                                            UNITED STATES MAGISTRATE JUDGE
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     REQUEST FOR PROBATION MODIFICATION ;
     [PROPOSED] ORDER THEREON
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